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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

              Plaintiff,
                                   v.                          10-CR-00025A(Sr)

ERIC J. HUMPHREY, et al.,

           Defendants.
_____________________________________


                                DECISION AND ORDER

              This case was referred to the Hon. Hugh B. Scott by the Hon. Richard J.

Arcara, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and

report upon dispositive motions. Dkt. #2. Thereafter, Magistrate Judge Scott issued an

Order of Recusal in the case as to all defendants (Dkt. #131) and Judge Arcara referred

the case to the undersigned, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial

matters and to hear and report upon dispositive motions. Dkt. #133.



                              PRELIMINARY STATEMENT

              The defendants, Eric J. Humphrey, Charles M. Humphrey, Jr., James

Humphrey, Jr., John E. Humphrey and Anthony Taylor are charged in a one-count

indictment with conspiracy to possess with intent to distribute and to distribute 5

kilograms or more of cocaine and to manufacture, possess with intent to distribute, and

to distribute, 50 grams or more of cocaine base in violation of Title 21, United States

Code, Sections 846. Dkt. # 1. The defendants each also face forfeiture allegations.

Id. Defendants Charles M. Humphrey, Jr., John E. Humphrey, Eric J. Humphrey and
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Anthony Taylor have filed dispositive and non-dispositive motions. See Dkt. ##50

(Charles Humphrey), 57 (John E. Humphrey), 60 (Eric J. Humphrey), 69 (Charles

Humphrey (supplemental motion), 113 (Anthony Taylor). The government filed

responses to the instant motions. Dkt. ##61, 70. Oral argument was held before

Magistrate Judge Hugh B. Scott on February 16, 2011 and March 16, 2011.



              This Decision and Order will address defendant John E. Humphrey’s non-

dispositive motions seeking severance, preservation of evidence and to join in the

motions filed by co-defendants. Dkt. #57. This Court’s Report, Recommendation and

Order with respect to John E. Humphrey’s motion to suppress the evidence seized from

39 Phyllis Avenue was filed separately.



                             DISCUSSION AND ANALYSIS

Motion for Severance

              By this request, defendant John Humphrey seeks severance from his co-

defendants. In support of this motion, defendant John Humphrey states, “John

Humphrey’s defense will be that he did not engage in any illegal activity relating to his

co-defendants nor did he enter into any agreement to do so. As such, this defendant

will be required to separate himself quite forcefully from his co-defendants’ alleged

criminal activities. In essence, John Humphrey’s defense will be that he was not

involved in his co-defendants’ multiple wrongdoings.” Dkt. #57, ¶11. A Decision and




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Order on defendant John Humphrey’s motion to sever is left to the discretion of the

District Judge to whom this case is assigned, District Judge Richard J. Arcara.



Preservation of Evidence

       By this request, the defendant seeks an Order from this Court directing the

government to “preserve and retain intact any evidence, tangible papers, reports, law

enforcement agent notes, objects or other information relating in any way to the

investigation which led to this indictment . . .” Dkt. #57, ¶13. In its response, the

government states,

              [t]he government has made available of [sic] all tangible
              objects obtained pursuant to search warrants or otherwise
              and will make available photographs material to the
              preparation of a defense or intended to be used as
              evidence-in-chief at trial or obtained from or belonging to the
              defendant. The defendants are apprised that they can
              examine such material in the custody of the DEA and
              pursuant to Rule 12(b)(4)(B), such evidence shall be used
              by the government against them at trial. . . .

              [r]egarding rough notes, no such basis exists at this time for
              providing the requested materials, if they exist. The
              government will endeavor to maintain such materials, if they
              exist. This in no way should be construed as any
              concession that said notes are subject to disclosure.

Dkt. #61, ¶¶6 and 8.



              Although perhaps unnecessary, based on the representations made by

counsel for the government concerning its acknowledgment of its obligation and its

agreement to endeavor to maintain such materials, the express admonition of the Court



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of Appeals for the Second Circuit bears repeating in addressing this particular request

of the defendant wherein the Court stated:

              [W]e will look with an exceedingly jaundiced eye upon future
              efforts to justify non-production of a Rule 16 or Jencks Act
              “statement” by reference to “departmental policy” or
              “established practice” or anything of the like. There simply is
              no longer any excuse for official ignorance regarding the
              mandate of the law. Where, as here, destruction is
              deliberate, sanctions will normally follow, irrespective of the
              perpetrator’s motivation, unless the government can bear
              the heavy burden of demonstrating that no prejudice
              resulted to the defendant. . . . We emphatically second the
              district court’s observation that any resulting costs in the
              form of added shelf space will be more than
              counterbalanced both by gains in the fairness of trials and
              also by the shielding of sound prosecutions from
              unnecessary obstacles to a conviction.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976). Accordingly, the government is hereby directed to maintain and preserve all

materials that are known by the government to exist, that constitute potential Jencks Act

material in this case.



Motion for Leave to Join in Motions Filed by Co-defendants

              The defendant seeks to join in any motion filed by any of his co-

defendants. Dkt. #57, ¶17. This request is granted with the further directive and finding

that the decision made by this Court as to each of the co-defendant’s requests




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contained in the motion in which this defendant joins shall also be deemed to be the

finding and Order of this Court as to the defendant herein.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the



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portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             July 1, 2013


                                         s/ H. Kenneth Schroeder, Jr.
                                         H. KENNETH SCHROEDER, JR.
                                         United States Magistrate Judge




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